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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 LAS AMERICAS IMMIGRANT
 ADVOCACY CENTER, et al.,

                 Plaintiffs,
                                                                    Civil Action No. 25-0418
         v.

 KRISTI NOEM, Secretary of Homeland
 Security, in her official capacity, et al.,



              DECLARATION OF LIEUTENANT COLONEL ROBERT GREEN

       I, LIEUTENANT COLONEL ROBERT GREEN , pursuant to 28 U.S.C. § 1746, hereby

declare as follows:

       1.      I am a Lieutenant Colonel in the United States Army and have served on active

duty for 30 years. My prior positions include Platoon Leader and Executive Officer (XO), 256th

Military Police Company Internment/Resettlement (I/R), Fort Leavenworth, KS, Plans Officer,

705th Military Police Battalion (I/R), Fort Leavenworth, KS and Taji (Task Force 134 (Detainee

Operations), Iraq, Battalion Logistics Readiness Officer (S-4), 793rd Military Police Battalion,

Joint Base Elmendorf Richardson (JBER), AK, Commander, Headquarters and Headquarters

Detachment (HHD), 793rd Military Police Battalion, JBER, AK and Gardez, Afghanistan, S3,

532nd Engineer BN (Provisional), JBER, Alaska; Battalion Operations Officer (S3) and

Executive Officer XO, 40th Military Police Battalion (Detention), Fort Leavenworth, KS , Joint

Exercise Planner, Chairman’s Exercise Program Division (CEPD), Joint Training Division, Joint

Staff J-7, Pentagon, Washington D.C; Executive Assistant to Director for Joint Force

Development, Joint Staff J-7, Pentagon, Washington D.C, Chief, Strategic Initiatives Group
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(SIG), Office of the Provost Marshal General (OPMG), Headquarters Department of the Army

(HQDA) Washington D.C.; Commander, 508th Military Police Detention Battalion &

Northwestern Joint Regional Correctional Facility (NWJRCF) Joint Base Lewis-McChord, WA.

I make the following statements based upon my years of service and experience in the United

States military, personal knowledge, and information made available to me in my official

capacity.

       2.      In response to a Presidential Memorandum on 29 January 2025, on 30 January

2025, the Secretary of Defense ordered the Commander, United States Southern Command, to

expand migrant operations at NSGB. Joint Task Force – Southern Guard (JTF-SG) was created

to execute that directive

       3.      I currently serve as the Commander of Task Force Guardian, the element

responsible for safeguarding and controlling illegal aliens under the direction of, and in support

of the Department of Homeland Security (DHS) and Immigration and Customs Enforcement

(ICE) agents. Task Force Guardian supports Joint Task Force Southern Guard (JTF-SG) at Naval

Station Guantanamo Bay, Cuba (NSGB). I have held this position since 14 February 2025. In

coordination with DHS and ICE agents and contractors, I oversee DoD’s involvement in Holding

Area Operations, ensuring humane treatment of illegal aliens while maintaining the security of

both the IAs and the security personnel within TF-Guardian. I also advise the JTF-SG

Commander and staff on all Holding Area Operations at the Windward High Threat Illegal Alien

(HTIA) Holding Facility (Camp VI). JTF-SG’s mission focuses on supporting DHS-led illegal

alien holding operations at NSGB.




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                           Windward Facility (CAMP VI) Conditions

       4.      The Windward Facility, completed in 2006, was built as a medium security

facility, using layouts and operational practices inspired by U.S. prison-system facilities. The

facility uses single cells, and when fully operational, it can house up to 175 IAs. IAs reside in

eight pods, each containing approximately 22 cells. Each pod consists of a two-story wedge-

shaped wing connected to the main structure. Each pod’s first floor contains a common area

where IAs can interact, eat meals, and take showers.

       5.      The facility, now over 19 years old, experiences ongoing maintenance issues,

including plumbing, electrical systems, camera systems, and locking mechanisms. These issues

require constant attention, with staff completing routine fixes on an average of 25 cells per week.

As new IAs rotate through the facility, additional wear and tear increases the workload for the

facility maintenance representative (FMR), responsible for maintaining to operational capacity

and ensuring safe holding area operations. IAs are only housed in cell blocks that are in the best

condition and have working plumbing, electrical systems, camera systems, and locking

mechanisms. The remaining cell blocks (about 25% of the facility) is undergoing regular

maintenance to bring it up to standards.

       6.      Every IA at the Windward Facility receives shelter and ventilation. Each HTIA

has access to potable drinking water, a toilet, and a sleeping area free of insects.

       7.      The average temperature is maintained between 72- and 74-degrees Fahrenheit,

measured at various locations within the facility using a laser thermometer and an environmental

weather meter (Kestrel 4000). Each IA receives three nutritionally balanced meals daily,

prepared in compliance with United States Department of Agriculture (USDA) dietary

guidelines, with adjustments made for religious, cultural, portion, and medical requirements.



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        8.      Meals are prepared in the same kitchen and in the same manner as those for

military personnel stationed on the island unless otherwise requested. Qualified food handlers

prepare and distribute meals based on the IA headcount and a standardized recipe card, which

dictates uniform serving sizes using a “one size fits all” approach. The serving size does not

account for differences in individual body weight, which could contribute to weight loss for

some IAs.

        9.      Several IAs formerly housed at the Windward Facility have voluntarily refused

meals, which may have also contributed to weight loss. However, food and water are never

withheld. 1

        10.     Each IA also receives regular opportunities for indoor recreation, 2 (twice daily for

a maximum of four hours total currently) and personal hygiene. Personal hygiene (including

showers) may be delayed up to 48 hours, depending on guard force operational capacity;

however, IAs typically receive one shower per day. As the Windward Facility transitions to a

fully communal housing style, additional recreation time may become available. Lastly, IAs at

Windward are provided weekly laundry services (Every Thursday).

        11.     The current Guard Force at the Windward Facility consists of twenty-eight (28)

Soldiers, two (2) ICE Agents, and seven to eight (7-8) ICE contractors from Akima

Infrastructure Protection (AIP) or Akima Global Services (AGS), totaling 37 personnel per 12-




1
  At times, the IAs were provided disposable plastic water bottles which some IAs used to inflict self-
harm. Upon discovering this, water bottles were removed temporarily and replaced with disposable cups
of water.
2
  Although limited outdoor recreation was initially permitted in the first days of the operation, it was
discontinued upon discovering safety and security issues. For these reasons, outdoor recreation was
discontinued at Windward. DoD is working to address the issues and will reinstate daily outdoor time if
those issues can be addressed.

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hour shift (approximately 74 personnel over a 24-hour period). These numbers may change

based upon operational requirements.

       12.     As of 7 March, the facility maintains only one designated administrative

segregation area, known as the Special Housing Unit (SHU). The SHU, or H-Block, houses IAs

for short periods when their behavior disrupts the climate of their housing block. This system

encourages compliance with facility rules while minimizing disruptions to other IAs. The SHU

is also used to separate IAs from general population due to medical concerns, ensuring that

communicable disease and other ailments are segregated from the rest of the IA population.

Since its opening, a total of 0 IAs have been placed in the SHU, 0 for disciplinary reasons, and 0

for medical reasons.

       13.     Before the SHU opened, staff secured and controlled IAs who threatened to harm

themselves or others using four-point restraints (hands and legs) or five-point restraints (a

restraint chair or medical stretcher). As outlined in the ICS Detention Standard, staff check IAs

every 15 minutes to ensure proper blood circulation. With the opening of the SHU, the Guard

Force will have the option to limit the use of these types of restraints for an extended period to

address threats of harms to self or others, by providing an alternative location for IAs in this

category.

       14.     Additionally, if used, IAs remain in restraints for no more than two hours before a

reevaluation by medical staff and the Guard Force supervisor (ICE Agent as primary; Military as

secondary). Staff also offer IAs the opportunity to use the bathroom unless the IA actively resists

or becomes combative when released for that purpose.

       15.     Staff receive rigorous training on the proper use of the restraint chair. When it is

employed, medical providers observe its use. The restraint chair may be used in emergency



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situations (e.g., to immediately prevent self-harm) or in a deliberate manner (e.g., for disciplinary

purposes). In cases of deliberate use, the on-call lead ICE agent must authorize its application.

Once removed from the restraint chair, the IA is immediately examined by a medical provider.

       16.      Since being assigned as the Commander of Task Force Guardian, the Windward

Facility has recorded six (6) incidents involving the use of the restraint chair or a medical

stretcher. All occurred on 18 February 2025 and were classified as self-harm events. Three of

these incidents took place within minutes of each other, all events on this day involved

Venezuelan IAs.

                         Migrant Operation Center (MOC) Conditions

        17.    The primary purpose of the MOC has been to temporarily house migrants

intercepted at sea by the US Coast Guard or other agencies. Since the 1990s, the MOC has

provided basic care while U.S. authorities determine each migrant’s eligibility for asylum,

repatriation, or resettlement to a third country. The MOC includes two hard-stand buildings, the

MOC Facility and the MOC Special Housing Unit (SHU) which is not in use (due to required

repairs), along with two tent holding areas known as MOC East and MOC West.

        18.    The MOC Facility is a concrete building designed to provide shelter and

ventilation for communal living. Every IA at the MOC Facility has access to potable drinking

water, a toilet, and a sleeping area free of insects. IAs may reside in groups of up to six per

housing area, with a maximum capacity of 50 IAs at the MOC Facility.

        19.    The average temperature is maintained between 72- and 74-degrees Fahrenheit,

measured at various locations using a laser thermometer and an environmental weather meter

(Kestrel 4000). Like the Windward Facility, IAs receive three nutritionally balanced meals daily,

prepared in compliance with USDA dietary guidelines, with adjustments made for religious,



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cultural, or medical requirements. The MOC also provides regular opportunities for recreation

and personal hygiene.

       20.     The MOC Guard Force is composed entirely of ICE Agents and ICE contractors

(AIP or AGS). United States Marines provide security outside the MOC Facility 24 hours a day.

Additionally, a Marine Quick Reaction Force (QRF) is available around the clock to provide

emergency security support if needed.

       21.     MOC East and MOC West have not been used to house IAs. At this time, if used

in the future, MOC East can hold up to 224 low-threat illegal aliens (LTIAs), and MOC West

can house up to 296 LTIAs, providing a combined capacity of 520 LTIAs. MOC East and West

both have a portable containerized shower and latrine system that IAs may utilize.

                                      Telecommunication

       22.     Windward and the MOC allow IAs to make calls to their legal counsel upon

request from the IA or attorney. COL Jennifer Venghaus, Staff Judge Advocate for Joint Task

Force Southern Guard (JTF-SG), previously addressed access to legal counsel in a Declaration

dated 19 February 2025. I adopt by reference the procedures she outlined in that declaration.

Nevertheless, since her declaration was signed, ICE personnel have tested the phone lines, to

include making a call to the ABA attorney referral line, to confirm its operation and

functionality. Additionally, beginning on 2 March 2025, every IA at the Windward Holding

Area is authorized one 5-minute personal phone call per day between the hours of 0830-1230.

IAs at the MOC Facility are also allowed a 5-minute personal phone call once a day. Personal

calls at both the Windward and the MOC are monitored by ICE Agents or ICE contractors.

Attorney phone calls are not monitored, but ICE personnel maintain line of sight on the IAs

during attorney phone calls through the use of video monitors with no sound.



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                                         Use of Restraints

       23.     The current practice requires the use of hand and leg restraints anytime an IA

moves outside their Cell Block in the Windward Facility. This practice helps protect both the

Guard Force and the IA from potential security risks and enables the Guard Force to prevent IAs

from accidental falls while being moved. Guard Force personnel must maintain two points of

contact with the IA at all times during escorts. This practice will be reassessed as appropriate.

                         Policy on Use of Strip-Searching and Frisking

       24.     As part of the intake process at the Windward Holding Area, IAs undergo a series

of search procedures to ensure the safety, security, and welfare of both IAs and staff. These

searches occur at various stages while IAs are at the Windward Holding Area, and during

movement, following established guidelines that protect individual rights and dignity while

maintaining security.

       25.     A preliminary frisk search occurs when the IAs arrive via air at Naval Station

Guantanamo Bay. This pat-down inspection detects any concealed contraband that could

threaten staff, other IAs, or the individual being searched. Although limited in scope, this search

plays a critical role in ensuring safe intake procedures.

       26.     One comprehensive strip search is conducted upon arrival at the Windward

HTIA Facility. This search serves several purposes, including: (1) Identifying any distinguishing

marks, tattoos, or physical identifiers that may assist in verifying identity or tracking prior

criminal history. (2) Detecting and confiscating any contraband, such as weapons, drugs, or

unauthorized personal items, that may have been concealed on or within the individual’s body.

(3) Assessing the individual’s health and welfare, ensuring there are no visible injuries,

infections, or other immediate medical concerns requiring attention. To maintain privacy and



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respect, the strip search is conducted by a member of the Guard Force who is the same gender as

the individual being searched. Searches follow protocols designed to ensure the process is

conducted professionally, thoroughly, and with the least amount of intrusion necessary (away

from public view, using view obscuring resources) to achieve security objectives.

       27.     Additionally, staff conduct frisk searches each time an IA leaves a holding

area for medical appointments, required meetings, or relocation to another housing unit. Frisk

searches occur before and after each movement to prevent the introduction or removal of

contraband and to maintain the safety of the IA population, staff, and facility operations.

       28.     All search procedures are performed under ICE guidance and follow established

policies, legal standards, and human rights guidelines to ensure a proper balance between

security and the respectful treatment of IAs in accordance with ICE’s National Detention

Standards.

                                           Medical Care

       29.     Medical care for IAs relies on a combination of facilities and resources on both

the Leeward and Windward sides of the island.

       30.     On the Leeward side, the Military Medical Company Area Support (Role II)

provides medical care near the Migrant Operations Center (MOC). This facility also conducts

initial medical screenings for low-threat illegal aliens upon their arrival. If advance care is

required, IAs could be transported to the Naval Hospital Guantanamo Bay on the Windward side.

       31.     On the Windward side, medical care, including an infirmary and behavioral health

resources are available. The facility offers comprehensive care, including dental services, using a

combination of Department of Defense and Department of Homeland Security medical

personnel. For after-hours emergencies, staff transport IAs to the emergency room at Naval



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Hospital Guantanamo Bay. This process requires securing the IA in a transport van, deploying a

transport team, and moving the IA approximately two miles from the holding facility to the

hospital. The medical care provided to IAs is comparable to the care provided at Guantanamo

Bay to U.S. military personnel stationed there. To my knowledge, no IA has ever been denied

medical treatment or appropriate care for any ailment or injury.

                                         Staff Misconduct

       32.     Staff misconduct is taken very seriously. Any credible allegations of actions that

violate the basic rights of individuals housed at this facility will be thoroughly investigated and

addressed in accordance with all applicable laws, regulations, and the authorities prescribed by

the appropriate governing agencies. We are committed to ensuring a safe, respectful, and lawful

environment for all individuals in our care, and any staff found to have engaged in misconduct

will be held fully accountable.



I declare under penalty of perjury under the laws of the United States of America that the

forgoing is true and correct.



                                                      GREEN.ROBERT.WES Digitally signed by

               10 March 2025
                                                                       GREEN.ROBERT.WESLEY.1179087835

       Dated: _____________                           __________________________
                                                      LEY.1179087835   Date: 2025.03.10 14:11:47 -04'00'



                                                      ROBERT W. GREEN
                                                      Lieutenant Colonel, U. S. Army
                                                      Military Police
                                                      Commander Task Force Guardian




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